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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                        CIVIL MINUTES - GENERAL
Case No.         2:18-cv-01454-GW-RAO                                            Date   April 2, 2019
Title            Vital Proteins LLC v. Accelerated Intelligence, Inc. et al




Present: The Honorable         ROZELLA A. OLIVER, UNITED STATES MAGISTRATE JUDGE
        Donnamarie Luengo                                       N/A                                N/A
                Deputy Clerk                        Court Reporter / Recorder                    Tape No.

           Attorneys Present for Plaintiffs:                          Attorneys Present for Defendants:
                    NONE PRESENT                                              NONE PRESENT
Proceedings:                SETTLEMENT CONFERENCE ORDER

       This matter having been referred to U.S. Magistrate Judge Rozella A. Oliver for a settlement
conference, IT IS ORDERED that a settlement conference shall be held in Courtroom 590, 5th Floor of
the Roybal Federal Building and U.S. Courthouse, 255 E. Temple Street, Los Angeles, California, on
Wednesday, May 15, 2019, at 10:00 a.m.. The conference should be attended by persons with
meaningful authority to negotiate and agree to a settlement of the case.

         1. Settlement Conference Statements

        Each party shall submit a settlement conference statement (“Statement”) directly to Judge
Oliver’s chambers not later than seven (7) court days before the conference, via the courtesy copy drop
box outside the Clerk’s Office on the 12th floor of the Royal Federal Building and U.S. Courthouse. In
lieu of personal delivery, settlement conference papers may be emailed to
RAO_Chambers@cacd.uscourts.gov, if the total number of pages being emailed is 20 or less.
The statements shall not be filed in the court record, and they will not be made part of the case file.

         The Statements shall contain the following information:

                A. A brief statement of the facts of the case, including each party’s claims and defenses.
                   The Statement shall include citations to the applicable statutory or other grounds upon
                   which claims or defenses are based. The Statement should identify the major factual and
                   legal issues in dispute, and cite any controlling authorities.

                B. An itemized statement of the monetary damages claimed and of any other relief sought,
                   including the evidentiary bases for the monetary damages and/or other relief sought.

                C. A summary of the proceedings to date, including any case management dates/deadlines
                   already set, as well as the estimated length of trial, and whether a court or jury trial is
                   contemplated. The Statement shall also set forth the date(s) any party filed or intends to
                   file any dispositive motion.

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                D. A history of past settlement discussions, offers, and demands.

                E. A forthright evaluation of the party’s likelihood of prevailing on each of his, her, or its
                   claims and/or defenses.

                F. The approximate amount of attorney’s fees, time and costs expended to date, and an
                   estimate of the fees, time and costs to be expended for (i) further discovery; (ii) pretrial;
                   and (iii) trial.

                G. The party’s evaluation of the terms on which the case could be settled reasonably and
                   fairly, taking into account the litigation position and settlement position of the other side.

                H. Any other relevant circumstances that counsel believe will assist the Court in conducting
                   the settlement conference.

         2. At the Settlement Conference

        The settlement conference will typically begin with a joint session attended by all participants.
Parties and their counsel should come prepared to summarize their respective positions during this
session.

        The joint session is followed by private confidential caucuses between the Judge and each party
and counsel. In caucus, you can confidentially discuss information which may assist in working toward
a resolution, but which you prefer not to disclose in direct negotiations. You should anticipate that the
Judge will play “devil’s advocate” to help all parties gain the most balanced evaluation of the matter.
The caucuses also provide an opportunity to assess realistic options for resolution.

       Caucusing will generally continue until an option has been developed that all sides believe is
acceptable. At that point, the Judge will summarize the settlement. You may then wish to place the
settlement on the record or draft and execute a memorandum stating the material terms.

         3. Confidential Communications

       All statements related to the settlement conference, including all comments made in the joint
session and caucuses, are confidential settlement discussions. All statements made or information
disclosed are privileged and cannot be compelled under any circumstances. Further, the comments of
the Judge during caucusing are not to be used by counsel in settlement negotiations with opposing
counsel or in any court proceedings. This is a necessary requirement in order to avoid possible
misquotation of the Judge’s comments. Violation of this policy may result in sanctions being imposed.



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         4. Sanctions

        The failure of any party or attorney to comply with the requirements of this Order may result in
sanctions being imposed. The sanctions may include, but are not limited to, the fees and costs expended
by the other parties in preparing and attending the settlement conference.


cc:      Parties of Record




                                                                                                :
                                                             Initials of Preparer             dl


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